Case 1:19-cv-22908-MGC Document 11 Entered on FLSD Docket 07/30/2019 Page 1 of 1

AFFIDAVIT OF SERVICE

 

 

 

 

 

 

 

 

 

Case: Court: County: Job:

Civil Action No. 1:19- United States District Court For The Miami-Dade, FL 3599827
cv-22908-MGC Southern District of Florida

Plaintiff / Petitioner: Defendant / Respondent:

Queens Hospitality LLC, A Florida Limited Liability Company Breakfast Bitch LLC, A California Limited Liability Company
Received by: For:

Jon Serve Associates DiSchino & Schamy

To be served upon:

Legal Zoom Inc. (C2967349) Agent for Service for Breakfast Bitch LLC, A California Limited Liability Company

 

 

!, DAVID LUCE, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was by law to make service of the documents and informed said person of the
contents herein

Recipient Name/Address: Breakfast Bitch LLC, A California Limited Liability Company, 101 North Brand Ave 11th Floor, Glendale, CA

91203

Manner of Service: Served: Legal Zoom Inc. (C2967349) Registered Agent for service, for Breakfast Bitch LLC, A California Limited
Liability Company, on Jul 24, 2019, 2:20 pm PDT

Documents: Summons in a civil action and Plaintiff's Motion for preliminary injunction and incorporated memorandum of
law

Additional Comments:

1) Service of Process Completed: Jul 24, 2019, 2:20 pm PDT at 101 North Brand Ave 11th Floor, Glendale, CA 91203 received by Registered
Agent for Service (Legal Zoon Inc) (C2967349) For Breakfast Bitch LLC, A California Limited Liability Company.

Served Melanie Doe, Legal Processor

 

 

Fees: $115.00
Subscribed and sworn to before me by the affiant who is
a personally known to me.
Ek ;
22-4 aoe.
DAVID LUCE Date :
Process Server License #2014059259 Notary Public
County: Los Angeles PAS AA OC 4Y-2U\- 2 cS

 

Date Commission Expires
Jon Serve Associates

California Process Servers
10950 Arrow Route 661
Rancho Cucamonga, CA 91729

909-472-9107

  
 

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2) Comm. # 2147424,
‘go) NOTARY PUBLIC -CALIFGRAIA U}

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uma” Hy COMM, EXP. Apa. 24, 2020

     
   

 

 
